       Case 1:09-cr-00219-RDB               Document 197           Filed 06/19/13         Page 1 of 12



                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND

QUINDELL FORD,                                           *

        Petitioner,                                     *
                                                                      Civil Action No. RDB-12-2848
        v.                                              *
                                                                      Criminal Action No. RDB-09-0219
UNITED STATES OF AMERICA,                               *

        Respondent.                                     *

*        *        *        *         *        *         *         *        *         *        *        *

                                      MEMORANDUM OPINION

        The pro se petitioner Quindell Ford (“Petitioner”) has filed a Motion to Vacate, Set

Aside, or Correct Sentence (ECF No. 182) pursuant to 28 U.S.C. § 2255. Subsequently,

Petitioner filed a Motion to Amend and Supplement Section 2255 Motion (ECF No. 186)

pursuant to Rule 15(d) of the Federal Rules of Civil Procedure. In these Motions, Petitioner

claims that his sentence should be vacated because (1) this court lacked jurisdiction to convict

and sentence him, and (2) his counsel rendered ineffective assistance in violation of his Sixth

Amendment Rights.

        This Court has reviewed Petitioner’s Motion to Vacate (ECF No. 182), Petitioner’s

Motion to Amend and Supplement (ECF No. 186), the Government’s Opposition (ECF No. 189),

and Petitioner’s Reply to the Government’s Opposition (ECF No. 191), and finds that no hearing

is necessary. 1 See Local Rule 105.6 (D. Md. 2011). For the reasons stated below, Petitioner’s

Motion to Amend and Supplement Section 2255 Motion (ECF No. 186) is GRANTED and

Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence (ECF No. 182) is DENIED.

1
 Petitioner also filed a Motion to Correct Record (ECF No. 190) in which he seeks to correct a typographical error
made by the Government in its response. The Petitioner accurately notes that the Government misstated that he was
charged with violating 18 U.S.C. § 2113. In fact, Petitioner was charged and convicted under 18 U.S.C. § 1951 and
18 U.S.C. § 924(c). Accordingly, Petitioner’s Motion to Correct Record (ECF No. 190) is GRANTED.

                                                        1
      Case 1:09-cr-00219-RDB          Document 197       Filed 06/19/13      Page 2 of 12



                                       BACKGROUND

       On February 19, 2010, Petitioner Quindell Ford (“Petitioner”) pled guilty to Counts Six

and Seven of the Second Superseding Indictment (ECF No. 28). Specifically, he pled guilty to

Interference with Interstate Commerce by Robbery under 18 U.S.C. § 1951 (Hobbs Act) (Count

Six), and to Brandishing a Firearm During and in Relation to a Crime of Violence under

18 U.S.C. § 924(c) (Count Seven).

       Between December 22, 2008 and March 21, 2009, Petitioner was involved in seven

robberies in the State of Maryland. Rearraignment Tr. 47, ECF No. 102. Petitioner planned the

robberies with other conspirators, including Todd Bell, Trevon Jones, and others. Id. Petitioner

also executed the robberies with these other conspirators. Id. During the execution of the

robberies, Petitioner’s primary role was to take the money from the businesses. Id. Plaintiff’s

plea in this case concerns the robbery of the Charles Street Liquors store in Baltimore, Maryland.

Id. The Charles Street Liquors robbery involved a gun and such violence that the store owner

sustained a head injury requiring medical attention.     Id. at 47-48.    Charles Street Liquors

received and sold merchandise from outside the State of Maryland. Id. at 48.

       On April 29, 2010, Petitioner filed a Motion to Withdraw his guilty plea (ECF No. 87).

After holding a hearing on July 23, 2010 (ECF No. 113), this Court issued an Order (ECF No.

115) denying Petitioner’s request to withdraw his guilty plea on July 26, 2010. On November 4,

2010, this Court sentenced Petitioner to a total period of 366 months incarceration with five

years of supervised release (ECF No. 147). Petitioner appealed his sentence, and on September

9, 2011, the United States Court of Appeals for the Fourth Circuit issued a Judgment (ECF No.

180) affirming this Court’s decision. Petitioner filed the instant Motion to Vacate on September

20, 2012 (ECF No. 182), and the corresponding Motion to Amend and Supplement on October



                                                2
      Case 1:09-cr-00219-RDB           Document 197        Filed 06/19/13      Page 3 of 12



22, 2012 (ECF No. 186).

                                   STANDARD OF REVIEW

       This Court recognizes that Petitioner Quindell Ford (“Petitioner”) is pro se and has

accorded his pleadings liberal construction. See Erickson v. Pardus, 551 U.S. 89, 94 (2007).

Under 28 U.S.C. § 2255, a prisoner in custody may seek to vacate, set aside or correct his

sentence where the court lacked jurisdiction to impose the sentence. 28 U.S.C. § 2255. In

general, prisoners are also instructed to raise any Sixth Amendment ineffective assistance of

counsel claims in a motion under 28 U.S.C § 2255. See id. “Ineffective assistance claims are

generally not cognizable on direct appeal, . . . ‘unless [an attorney’s ineffectiveness] conclusively

appears from the record.’ ” United States v. Benton, 523 F.3d 424, 435 (4th Cir. 2008) (quoting

United States v. Richardson, 195 F.3d 192, 198 (4th Cir. 1999)).

       To prevail on an ineffective assistance of counsel claim, a petitioner must satisfy the two-

prong test set forth in Strickland v. Washington, 466 U.S. 668, 671 (1984). See Roe v. Flores-

Ortega, 528 U.S. 470, 477 (2000). The first, or “performance,” prong of the test requires a

showing that defense counsel’s representation was deficient and fell below an “objective

standard of reasonableness.” Strickland, 466 U.S. at 688. In making this determination, courts

observe a strong presumption that counsel’s actions fell within the “wide range of reasonable

professional assistance.” Id. at 688-89. The United States Court of Appeals for the Fourth

Circuit has previously noted that “[t]he defendant bears the burden of proving the first prong

under the Strickland test,” and unless this burden is met, “a reviewing court does not need to

consider the second prong.” Fields v. Att’y Gen. of Md., 956 F.2d 1290, 1297 (1992).

       The second, or “prejudice,” prong requires that a defendant demonstrate that his

counsel’s errors deprived him of a fair trial. Strickland, 466 U.S. at 687. The Fourth Circuit has



                                                 3
      Case 1:09-cr-00219-RDB           Document 197        Filed 06/19/13      Page 4 of 12



concluded that the mere possibility of a different trial result does not satisfy the burden placed on

the defendant. Hoots v. Allsbrook, 785 F.2d 1214, 1220 (4th Cir. 1986). Ineffective assistance

of counsel claims may be disposed of solely based on a deficiency in showing prejudice.

Strickland, 466 U.S. at 697.

                                           ANALYSIS

           I.      Petitioner’s Motion to Amend and Supplement

       Preliminarily, this Court addresses Petitioner’s Motion to Amend and Supplement

Section 2255 Motion (ECF No. 186) under Rule 15(d) of the Federal Rules of Civil Procedure.

“The Court may . . . permit a party to serve a supplemental pleading . . . even though the original

pleading is defective in stating a claim or defense.” FED. R. CIV. P. 15(d). The United States

Court of Appeals for the Fourth Circuit has instructed, “the standards used by a district court in

ruling on a motion to amend or on a motion to supplement are nearly identical.” Franks v. Ross,

313 F.3d 184, 198 n. 15 (4th. Cir. 2002). “In either situation, leave should be freely granted, and

should be denied only where ‘good reason exists . . . such as prejudice to the defendants.’ ” Id.

(quoting Walker v. United Parcel Serv., 240 F.3d 1268, 1278 (10th Cir. 2002)). In light of the

Government’s non-opposition to this Motion, as well as the fact that Petitioner filed it within the

one-year statute of limitations for filing a motion to vacate, this Court GRANTS Petitioner’s

Motion to Amend and Supplement (ECF No. 186). The amendments that Petitioner requests

(ECF No. 186) are hereby considered in conjunction with the arguments asserted in his original

Motion to Vacate, Set Aside, or Correct Sentence (ECF No. 182).

           II.     Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence

           A. Petitioner’s Lack of Jurisdiction Claim

       Petitioner claims that his sentence should be vacated because this Court did not have



                                                 4
      Case 1:09-cr-00219-RDB           Document 197        Filed 06/19/13      Page 5 of 12



subject-matter jurisdiction in this case. Specifically, Petitioner argues that his robbery of the

Charles Street Liquors store had no effect on interstate commerce.

       Petitioner pled guilty to Hobbs Act robbery under 18 U.S.C § 1951 and challenges this

Court’s jurisdiction under that statute. Section 1951 of the Hobbs Act prohibits robbery or

extortion that “in any way or degree obstructs, delays, or affects commerce or the movement of

any article or commodity in commerce.” United States v. Tillery, 702 F.3d 170, 173-174 (4th

Cir. 2012) (citing 18 U.S.C. § 1951). The Fourth Circuit has explained, “Congress exercised the

full extent of this authority in the Hobbs Act . . . [and] therefore found the Hobbs Act to apply

whenever the instant offense has at least a ‘minimal’ effect on interstate commerce.” United

States v. Williams, 342 F.3d 350, 354 (4th Cir. 2003) (citing United States v. Spagnolo, 546 F.2d

1117, 1119 (4th Cir.1976)). The Williams Court further explained, “[t]he question is not simply

whether one particular offense has a measurable impact upon interstate commerce, but whether

the relevant class of acts has such an impact.” Id. at 355 (citing United States v. Marrero, 299

F.3d 653, 655 (7th Cir. 2002)).

       Petitioner rests his lack of jurisdiction argument solely on the fact that Charles Street

Liquors is located in Maryland. However, the location of the business robbed is not the sole

determining factor of whether the business is engaged in interstate commerce. The Fourth

Circuit has explained, “[v]iewed in the aggregate, it is clear that robbing a place of business . . .

which necessarily relies on out-of-state suppliers to operate—has an interstate commerce

connection.” Tillery, 702 F.3d at 174. The Fourth Circuit continued, “it would violate the

principles of common sense to find that robbing a legitimate place of business would not have

even a minimal effect on interstate commerce, especially when we have to view such activities in

the aggregate.” Id. at 174-175. Petitioner conceded that he robbed Charles Street Liquors,



                                                 5
        Case 1:09-cr-00219-RDB               Document 197            Filed 06/19/13         Page 6 of 12



which is a business that received and sold merchandise from outside the State of Maryland.

Rearraignment Tr. 48, ECF No. 102. As a result, Petitioner’s conviction under 18 U.S.C. § 1951

is valid. As this Court has recently reiterated, “the federal court’s jurisdiction over . . . Hobbs

Act robberies is well-established.” Holmes v. United States, CCB-11-2132, CCB-7-383, 2013

WL 3028917 (D. Md. Jan. 24, 2013). Accordingly, Petitioner’s lack of jurisdiction claim must

fail.

             B. Petitioner’s Ineffective Assistance of Counsel Claim

         Petitioner raises two arguments to support his ineffective assistance of counsel claim.

First, Petitioner argues that his counsel rendered ineffective assistance by advising him to agree

to an invalid plea agreement. Second, Petitioner argues that his counsel rendered ineffective

assistance by failing to file for coram nobis relief.2

         To establish a claim of ineffective assistance of counsel, a defendant must prove both

elements of the test enunciated by the Supreme Court in Strickland v. Washington, 466 U.S. 688,

671 (1984). First, the defendant must establish that his counsel’s performance was so deficient

as to fall below an “objective standard of reasonableness.” Id. at 688. In assessing whether

counsel’s performance was deficient, courts adopt a “strong presumption” that counsel’s actions

fell within the “wide range of reasonable professional assistance.” Id. at 689. Second, a

defendant must show that counsel’s performance was so prejudicial as to “deprive the defendant

of a fair trial.” Id. at 687. To establish this level of prejudice, the defendant must demonstrate

that there is a “reasonable probability that, but for counsel’s [alleged] unprofessional errors, the

result of the proceeding would have been different.” Id. at 694.

         When a defendant alleges ineffective assistance after a guilty plea has been entered, the

2
 Coram nobis is “[a] writ of error directed to a court for review of its own judgment and predicated on alleged
errors of fact.” Black’s Law Dictionary 362 (8th ed. 2004).


                                                         6
      Case 1:09-cr-00219-RDB              Document 197    Filed 06/19/13      Page 7 of 12



burden is even greater. See Hooper v. Garraghty, 845 F.2d 471, 475 (4th Cir. 1988) (quoting

Hill v. Lockhart, 474 U.S. 52, 59 (1985)). The Fourth Circuit explained the logic behind

Strickland as follows:

           When a defendant challenges a conviction entered after a guilty plea, [the]
           “prejudice” prong of the [Strickland] test is slightly modified. Such a
           defendant “must show that there is a reasonable probability that, but for
           counsel’s errors, he would not have pleaded guilty and would have
           insisted on going to trial.”

Id. Additionally, an ineffective assistance of counsel claim based upon a failure to file a motion

to suppress evidence requires the defendant to show actual prejudice by demonstrating that his

“Fourth Amendment claim is meritorious and that there is a reasonable probability that the

verdict would have been different absent the excludable evidence.” Kimmelman v. Morrison,

477 U.S. 365, 375 (1986).

                         1. Guilty plea

       Petitioner alleges that his counsel rendered ineffective assistance by advising him to

agree to an invalid plea agreement. To prevail on an ineffective assistance of counsel claim, a

defendant must satisfy both the “performance” and “prejudice” prongs of Strickland.

Accordingly, Petitioner must not only demonstrate that his counsel’s conduct “fell below an

objective standard of reasonableness,” but also that he suffered prejudice as a result of this

deficient conduct.   Strickland v. Washington, 466 U.S. 668, 669-670 (1984).          In Hill, the

Supreme Court explained that “where . . . a defendant is represented by counsel during the plea

process and enters his plea upon the advice of counsel, the voluntariness [and intelligence] of the

plea depends on whether counsel's advice ‘was within the range of competence demanded of

attorneys in criminal cases.’ ” 474 U.S. at 56 (citing McMann v. Richardson, 397 U.S. 759, 771

(1970)). In assessing whether counsel’s performance was deficient, courts adopt a “strong

presumption” that counsel’s actions fell within the “wide range of reasonable professional
                                                 7
      Case 1:09-cr-00219-RDB           Document 197           Filed 06/19/13   Page 8 of 12



assistance.” Strickland, 466 U.S. at 689. In Fields v. Attorney General of the State of Maryland,

the Fourth Circuit instructed that a defendant’s statements in a plea agreement are binding absent

clear and convincing evidence to the contrary.           956 F.2d 1290, 1299 (4th Cir. 1992).

Furthermore, there is a strong presumption that the plea is final and binding when an appropriate

Rule 11 of the Federal Rules of Criminal Procedure guilty plea colloquy is conducted. See

United States v. Lambey, 974 F.2d 1389, 1394 (4th Cir. 1992).

       To support his ineffective assistance of counsel claim, Petitioner raises several

arguments, seeking to demonstrate the alleged invalidity of his plea agreement. First, he argues

that his counsel rendered ineffective assistance by allowing him to be confused by the Second

Superseding Indictment. He further argues that he never pled guilty to the Second Superseding

Indictment. The record does not support Petitioner’s allegation. The plea agreement in this case

was amended by interlineation and the changes correspond with the content of the Second

Superseding Indictment. Petitioner signed not only the entire plea agreement, but also each

change made to the document. Additionally, Petitioner signed the plea agreement directly below

the paragraph representing his confirmation that, “[he] read this agreement and carefully

reviewed every part of it with [his] attorney.” Plea Agreement 9, ECF No. 68. Moreover, even

assuming the interlineation confused Petitioner, both the original Indictment and Second

Superseding Indictment include a Hobbs Act charge and a Section 924(c) charge. As a result,

the amendment by interlineation did not create a substantive change to the charges, and

Petitioner’s ineffective assistance of counsel claim fails.

       Second, Petitioner contends that his guilty plea was not voluntary and knowing. He

expresses his dissatisfaction by merely stating that his counsel gave him “ill advice” by advising

him to sign the plea agreement. Mot. to Vacate 2, ECF 182. Such a conclusory statement with



                                                  8
      Case 1:09-cr-00219-RDB          Document 197        Filed 06/19/13      Page 9 of 12



no supporting facts cannot sufficiently state a valid ineffective assistance of counsel claim. See

Strickland, 44 U.S. at 490. It also contradicts Petitioner’s testimony during the Rule 11 colloquy.

At that time, Petitioner agreed that he was “fully satisfied” with his counsel’s representation and

advice. Rearraignment Tr. 27, Ex. B, ECF No. 110-2. Moreover, when this Court asked him, “is

there anything you’ve asked [counsel] to do which he’s not done?” he responded, “No, sir. He

did everything I asked him.” Id. Furthermore, as mentioned above, Peitioner signed the plea

agreement under the paragraph confirming that “[he understood] it and voluntarily agree[d] to

it.” Plea Agreement 9.

       Third, Petitioner argues that his counsel rendered ineffective assistance by advising him

to plead guilty to the Section 924(c) charge, even though Petitioner said he was innocent.

Petitioner seeks to assert his innocence by arguing that there is no evidence that the gun was in

his personal possession during the Charles Street Liquors robbery. However, “[a] defendant may

be convicted of a Section 924(c) charge on the basis of a coconspirator's use of a gun if the use

was in furtherance of the conspiracy and was reasonably foreseeable to the defendant.” United

States v. Wilson, 135 F.3d 291, 305 (4th Cir. 1998) (citing United States v. Chorman, 910 F.2d

102, 110-111 (4th Cir. 1990)). The Charles Street Liquors robbery involved a gun and resulted

in a gun-related injury. Petitioner accepted these facts when he pled guilty at his rearraignment

hearing. Accordingly, it is irrelevant whether the gun involved in the robbery was in Petitioner’s

personal possession.     This argument fails to support his claim of ineffective assistance of

counsel.

       Fourth, Petitioner argues that his plea withdrawal request was improperly denied, and that

as a result, he was denied a jury trial. Specifically, Petitioner alleges that his counsel rendered

ineffective assistance by failing to raise certain objections during the plea withdrawal hearing.



                                                9
     Case 1:09-cr-00219-RDB           Document 197         Filed 06/19/13     Page 10 of 12



Strickland requires that “[a] convicted defendant making a claim of ineffective assistance . . .

identify the acts or omissions of counsel that are alleged not to have been the result of reasonable

professional judgment.” Strickland, 466 U.S. at 690. In the instant Motion to Vacate, Petitioner

fails to bring any new evidence relevant to his earlier request to withdraw his guilty plea. He

merely claims that counsel “failed to object to vital errors by [the] Court during [the] plea

withdrawel [sic] hearing.” Mot. to Vacate 9. Such a conclusory and generalized statement about

counsel’s performance is insufficient to state a claim under Strickland.

       As discussed above, Petitioner fails to sufficiently allege that his counsel’s actions fell

below the “objective standard of reasonableness.” Strickland, 466 U.S. at 688. Thus, Petitioner

does not satisfy the “performance” prong of Strickland. If the defendant does not meet his

burden of proving the first prong of the Strickland test, “a reviewing court does not need to

consider the second prong.” Fields, 956 F.2d at 1297. Since Petitioner fails to demonstrate that

his counsel’s professional conduct fell outside the realm of reasonable professional assistance as

discussed by the first prong of Strickland, this Court may dispose of Petitioner’s ineffective

assistance of counsel claim without analyzing the second prong of Strickland. Accordingly,

Petitioner’s ineffective assistance of counsel claim must fail.

                       2. Coram Nobis

       Petitioner alleges that his counsel rendered ineffective assistance of counsel by failing to

file a motion for coram nobis relief. As previously stated, to prevail on this claim, Petitioner

must demonstrate (1) that his counsel’s performance fell below an “objective standard of

reasonableness,” and (2) that he suffered prejudice as a result of this deficient performance.

Strickland, 466 U.S. at 687-688. Coram nobis is an extraordinary remedy that should be granted

only “to correct errors of the most fundamental character where the circumstances are



                                                 10
      Case 1:09-cr-00219-RDB          Document 197         Filed 06/19/13      Page 11 of 12



compelling to achieve justice.” Correa–Negron v. United States, 473 F.2d 684, 685 (5th Cir.

1973). Petitioner fails to demonstrate how his circumstances are so extraordinary as to demand

such relief.

        Petitioner alleges that his counsel rendered ineffective assistance of counsel by failing to

file a motion for coram nobis relief regarding his previous convictions for controlled substance

offenses. The record starkly contrasts with this allegation. Counsel took appropriate steps to

obtain coram nobis relief for Petitioner. In a letter to the Assistant United States Attorney

(“AUSA”), counsel stated that, by the time Petitioner requested a coram nobis petition, he did

not have enough time to file one. Letter from Michael D. Montemarano to the AUSA (Dec. 28,

2012), Ex. A., ECF No. 189-1. Nevertheless, even though counsel was unable to file a coram

nobis petition, during sentencing, counsel still proffered as to the likelihood of coram nobis relief

being granted. As a direct result of counsel’s proffer, this Court reduced Petitioner’s criminal

history range. Sentencing Tr. 46. Thus, Petitioner fails to demonstrate how his counsel’s

behavior fell below “an objective standard of reasonableness.” Strickland, U.S. at 688.

        As Petitioner fails to meet the “performance” prong of Strickland, this Court does not

need to address the “prejudice” prong. Strickland, 466 U.S. at 687-688. Nevertheless, even if

Petitioner had demonstrated that his counsel’s conduct was deficient, Petitioner does not bring

sufficient evidence that such deficient conduct caused him to suffer prejudice. In the above-

referenced letter to the AUSA, Petitioner’s counsel explained that the Court had made it clear

that the length of Petitioner’s sentence was the result of factors other than Petitioner’s criminal

history.   Thus, Petitioner fails to meet either prong of the Strickland test.         Accordingly,

Petitioner’s Motion to Vacate is DENIED.




                                                 11
     Case 1:09-cr-00219-RDB            Document 197        Filed 06/19/13      Page 12 of 12



                                          CONCLUSION

         For the foregoing reasons, Petitioner’s Motion to Correct Record (ECF No. 190) and

Motion to Amend and Supplement (ECF No. 186) are GRANTED. However, Petitioner’s

Motion to Vacate, Set Aside, or Correct Sentence (ECF No. 182) is DENIED.

         Pursuant to Rule 11(a) of the Rules Governing Proceedings under 28 U.S.C. § 2255, the

court is required to issue or deny a certificate of appealability when it enters a final order adverse

to the applicant. A certificate of appealability is a “jurisdictional prerequisite” to an appeal from

the court’s earlier order. United States v. Hadden, 475 F.3d 652, 659 (4th Cir. 2007). A

certificate of appealability may issue “only if the applicant has made a substantial showing of the

denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). Where the court denies a petitioner’s

motion on its merits, a petitioner satisfies this standard by demonstrating that reasonable jurists

would find the court’s assessment of the constitutional claims debatable or wrong. See Miller-El

v. Cockrell, 537 U.S. 322, 336-38 (2003); Slack v. McDaniel, 529 U.S. 473, 484 (2000).

Because reasonable jurists would not find Petitioner’s claims debatable, a certificate of

appealability is DENIED.

         A separate Order follows.



Dated:          June 18, 2013
                                                      _____ /s/                                _
                                                      Richard D. Bennett
                                                      United States District Judge




                                                 12
